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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
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                                                                 :
JULIE ANNE CHINNOCK,                                             :
                                                                 :        Case No. 1:18-cv-2935
                      Plaintiff,                                 :
                                                                 :
vs.                                                              :        OPINION & ORDER
                                                                 :        [Resolving Docs. 10, 18, 21]
NAVIENT CORPORATION, et al.,                                     :
                                                                 :
                      Defendants.                                :
                                                                 :
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JAMES S. GWIN, UNITED STATES DISTRICT JUDGE:

          Dissatisfied with the Court’s rulings in this case and a prior case, Plaintiff Julie Anne

Chinnock asks for a different judge. For the foregoing reasons, the Court DENIES Plaintiff’s

motion for leave and DENIES her motions to recuse.

                                                       I.            Background

          In March 2018, Plaintiff asked an Ohio state court to declare that she had paid off

her student loans.1 The defendants removed that case here under the Court’s diversity

jurisdiction.2 The Court determined that Chinnock had not established personal

jurisdiction over the defendants, or proper venue and dismissed the case.3

          Less than a month later, Plaintiff filed this nearly identical case in Ohio state court.4

She again sought a declaration that she had paid off her loans.5 Following the same script,

Defendants removed the case here under diversity jurisdiction.6 Although originally



          1
              Notice of Removal, Chinnock v. Navient Corp., No. 1:18-cv-1009 (N.D. Ohio May 1, 2018), ECF No. 1.
          2
              Id.
          3
              Chinnock v. Navient Corp., No. 1:18-cv-1009, 2018 WL 5312462 (N.D. Ohio Oct. 26, 2018).
          4
              Doc. 1-1.
          5
              Id.
          6
              Doc. 1.
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randomly assigned to District Judge Aaron Polster, it was transferred here because of its

similarity to the prior case.7

         Chinnock then moved to recuse the Court.8 Bizarrely, two weeks later, Chinnock

asked the Court for leave to file the very motion she had just filed.9 Then, apparently

deciding that she did not need the Court’s permission after all, Chinnock filed yet another

motion to recuse.10 Chinnock then filed a third recusal brief.11 Fundamentally, Chinnock

believes that the Court’s decisions in the prior case and in this case demonstrate that the

Court is biased against her.

                                                  II.       Discussion

         At the outset, the Court DENIES Plaintiff’s motion for leave to file a motion to recuse

as moot. Plaintiff has already filed two motions to recuse and did not need leave in the

first place.

         The Court also DENIES Plaintiff’s request for the Court to transfer the recusal motion

to a different judge.12 The recusal decision is vested with the federal judge whose recusal

is sought.13

         Now to the substance of Chinnock’s recusal arguments. A federal judge “shall

disqualify himself in any proceeding in which his impartiality might reasonably be

questioned.”14 Where, as here, the recusal motion is based on events that occurred during

litigation, the moving party must demonstrate that the Court’s bias “is so extreme as to

         7
           Doc. 9.
         8
           Doc. 10.
         9
           Doc. 18.
         10
            Doc. 21.
        11
           See generally William Shakespeare, Hamlet act 2, part 2 (“[B]revity is the soul of wit, [a]nd tediousness the limbs
and outward flourishes.”).
        12
           Doc. 21 at 16.
        13
           28 U.S.C. § 455(a).
         14
              Id.
                                                             -2-
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display clear inability to render fair judgment.”15 “[J]udicial rulings alone almost never

constitute a valid basis for a bias or partiality motion.”16 Chinnock comes nowhere close to

meeting this high standard.17

A.       Alleged Misconduct in This Case

         Plaintiff’s lead argument for recusal is that the Court lacks jurisdiction over this case

“because the former federal case was dismissed other than on the merits.”18 This argument

is entirely irrelevant to recusal (and, for that matter, jurisdiction).

         Chinnock next argues that recusal is “automatically mandated” because this case

will allow the Court “to reconsider and render judgment on [its] previous rulings.”19

However, the Court will not be reconsidering its judgments in the prior case. The fact that

the Court will, in this case, consider the same issues previously presented is

unexceptional.20 Chinnock’s cited cases to the contrary are not only unavailing, they flatly

contradict her position.21

         Plaintiff also takes issue with the Court’s March 1, 2019 order requiring both parties

to produce evidence regarding the Court’s personal jurisdiction over Defendants.

Chinnock claims this order “attempt[s] to perpetuate this case ad infinitum rather than

determine the threshold issues.” The Court can assure Plaintiff it has no desire to



         15
            Liteky v. United States, 510 U.S. 540, 551 (1994).
         16
            Id. at 555.
         17
            See Burley v. Gagacki, 834 F.3d 606, 616 (6th Cir. 2016) (noting that a party seeking recusal based on conduct
that occurred during litigation faces an “uphill battle”).
          18
             Doc. 10 at 1; Doc. 23 at 3.
          19
             Doc. 10 at 2.
          20
             Liteky, 510 U.S. at 551 (“It has long been regarded as normal and proper for a judge to sit in the same case
upon its remand, and to sit in successive trials involving the same defendant.”); United States v. Howard, 218 F.3d 556,
566 (6th Cir. 2000) (holding that recusal was not required even though the district judge had previously presided over an
identical case).
          21
             See Russel v. Lane, 890 F.2d 947, 948 (7th Cir. 1989) (“The fact that a judge is asked to reconsider a previous
ruling does not provide a reasonable basis for questioning his impartiality.”); Rice v. McKenzie, 581 F.2d 1114, 1118 (4th
Cir. 1978) (A judge is “ordinarily [not] disqualified from retrying or rehearing a case that he has tried or heard before”).
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perpetuate this case indefinitely. Not to mention, personal jurisdiction is a threshold issue.

Requiring both parties to produce relevant evidence does not demonstrate bias.22

         Plaintiff also claims that, if the Court does not recuse itself, her counsel will be

ethically required to continue filing recusal motions. As such, “attention in the case will be

focused on ancillary issues.”23 Plaintiff’s thinly veiled threat to bog the Court down with

motions if she does not get her way is not a basis for recusal.

B.       Alleged Misconduct in The Prior Case

         Chinnock also claims the Court’s decisions in the prior case demonstrate bias. They

do not.

         First, she complains that the Court denied her motion to remand in the prior case.

Judicial decisions, however, almost never serve as a basis for recusal. In any event, the

Court denied Plaintiff’s motion because the Court had diversity jurisdiction over the case,

not because of bias.

         Second, she argues that the Court “usurped the Court [Disciplinary] Committee’s

jurisdiction” by refusing to refer Plaintiff’s allegation of opposing counsel’s misconduct to

the Northern District of Ohio’s Committee on Complaints. Wrong again. The Local Rules

only require the Court to refer “allegations of misconduct which, if substantiated, would

warrant discipline.”24 Chinnock’s allegations about opposing counsel, even if true, did not

amount to ethical violations.25


          22
             Chinnock’s suggestion in her most recent brief that she may refuse to comply with the March 1 order is ill-
advised. See, e.g., William F. Chinnock, The Law of Contempt of Court in Ohio, 34 Univ. Tol. L. Rev. 309, 310 (2003)
(“The essence of the offense of contempt of court is the defiance of judicial authority.”).
          23
             Doc. 10 at 4.
          24
             N.D. Ohio Civil Rule 83.7(d).
          25
             She alleged that opposing counsel had engaged in the unauthorized practice of law by working on the case
prior to being admitted to practice before the Court. However, an attorney is not required to be admitted to practice before
a particular court in order to merely work on a case pending before that court.
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       Finally, Chinnock argues that the Court “acted as an advocate” by: (i) requiring the

defendants to update its motion to dismiss after Plaintiff amended her complaint, (ii)

suggesting during a case management conference that the way to bring the action to a head

would be for the defendants to assert counterclaims (rather than through Plaintiff’s

declaratory action), and (iii) not providing Plaintiff enough time to file a reply brief to her

remand motion. These actions do not reflect bias; they reflect the Court’s desire for clarity

and judicial economy. In any event, they fall far short of showing the extreme bias

required.

                                       III.   Conclusion

       Plaintiff fails to show any bias, much less bias “so extreme as to display clear inability

to render fair judgment.” Accordingly, the Court DENIES Plaintiff’s motion for leave and her

recusal motions.

       IT IS SO ORDERED.



Dated: March 21, 2019                                s/     James S. Gwin
                                                     JAMES S. GWIN
                                                     UNITED STATES DISTRICT JUDGE




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